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 4                            UNITED STATES DISTRICT COURT

 5                          EASTERN DISTRICT OF WASHINGTON
 6 ANTHONY MAURICE MILLER,
                                                      No.       2:13-0008-WFN-29
 7                  Movant,
                                                      ORDER RE: §2255 MOTION
 8         -vs-
 9 UNITED STATES OF AMERICA,
10                            Respondant.
11
12         Before the Court is Movant's 28 U.S.C. § 2255 Motion to Vacate, Set Aside or
13   Correct Sentence. ECF No. 4039. The Motion is submitted by Anthony Miller, who is
14   appearing pro se in these proceedings.
15                                       BACKGROUND
16         Mr. Miller was indicted on January 25, 2013 for Conspiracy to distribute a
17   controlled substance and three counts of distribution of a controlled substance. Mr. Miller
18   pled to Count Two on May 1, 2014. ECF No. 2105. On March 10, 2015, the Court
19   sentenced Mr. Miller to 74 months incarceration and dismissed the remaining counts. ECF
20   No. 3495. The judgment became final for purposes of collateral attack fourteen days later.
21                                          DISCUSSION
22         The statute provides that only if the Motion, file and records "conclusively show
23   that the movant is entitled to no relief" may the Court summarily dismiss the Motion
24   without sending it to the United States Attorney for response. 28 U.S.C. § 2255(b). The
25   Rules regarding Section 2255 Proceedings similarly state that the Court may summarily
26   order dismissal of a 2255 motion without service upon the United States Attorney only "if
27   it plainly appears from the motion, and any attached exhibits, and the record of prior
28   proceedings that the movant is not entitled to relief, the judge must dismiss the motion


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 1   and direct the clerk to notify the moving party."          Rule 4(a), RULES-SECTION 2255
 2   PROCEEDINGS. Thus when a movant fails to state a claim upon which relief can be granted
 3   or when the motion is incredible or patently frivolous, the district court may summarily
 4   dismiss the motion. Cf. United States v. Burrows, 872 F.2d 915, 917 (9th Cir. 1989);
 5   Marrow v. United States, 772 F.2d 525, 526 (9th Cir. 1985).
 6         To gain relief, Mr. Miller must establish that (1) he is in custody under a sentence of
 7   this federal court; (2) his request for relief was timely; and (3) the court lacked either
 8   personal or subject matter jurisdiction, the conviction or sentence is unconstitutional, the
 9   conviction or sentence violates federal law, or the sentence or judgment is otherwise open
10   to collateral attack. 28 U.S.C. § 2255.
11         Because the Court cannot say conclusively that Mr. Miller is not entitled to relief,
12   the Court asks that the Government respond.      The Court has reviewed the file and Mr.
13   Miller's Motion and is fully informed. Accordingly,
14         IT IS ORDERED that:
15         1. Mr. Miller's Motion to Vacate, Set Aside or Correct Sentence by a Person in
16   Federal Custody Pursuant to 28 U.S.C. § 2255, filed February 8, 2016., ECF No. 4039, is
17   RESERVED.
18         2. The United States shall answer Movant's § 2255 Motion by April 29, 2016. The
19   contents of the answer shall conform to the requirements of Rule 5(b) of the Rules-Section
20   2255 Proceedings.
21         3. Movant shall serve and file a reply to United States answer, if any, within thirty
22   (30) days of service of United States' answer.
23         4. If Movant raises new issues in his reply, the Government may respond to those
24   issues in a supplemental response to be filed and served within 20 days of service of the
25   Movant's reply.
26         5. The Court will take the matter under advisement when the briefing is complete.
27         6. Movant shall serve upon the United States Attorney a copy of every further
28   pleading or document submitted for consideration by the Court. He shall include with the


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 1   original paper to be filed with the District Court Executive, a certificate stating the date
 2   a true and correct copy of any document was mailed to the United States. The Movant
 3   shall also supply to the District Court Executive a copy for the Judge of all filings. Local
 4   Rule 5.1(a). Any paper received by a District Court Judge which has not been filed with
 5   the District Court Executive or which fails to include a certificate of service will be
 6   disregarded by the Court. Movant is also advised that throughout this action he must
 7   notify the District Court Executive regarding any change of address.
 8              The District Court Executive is directed to File this Order and provide copies to
 9   counsel and pro se Movant
10              DATED this 2nd day of March, 2016.
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12                                                 s/ Wm. Fremming Nielsen
13                                                   WM. FREMMING NIELSEN
     03-01-16                                 SENIOR UNITED STATES DISTRICT JUDGE
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